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 2
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 4   Attorney for Plaintiff

 5

 6                                UNITED STATES DISTRICT COURT
                                            FOR THE
 7                                   DISTRICT OF NEW JERSEY
 8
     EDWARD HENDREX,                                 )
 9
                                                     )
                      Plaintiff                      )
10                                                   )       Case No.:
            v.                                       )
11                                                   )       COMPLAINT AND DEMAND FOR
     DIVERSIFIED CONSULTANTS, INC.,                  )       JURY TRIAL
12                                                   )
                 Defendant                           )       (Unlawful Debt Collection Practices)
13

14
                                               COMPLAINT
15
            EDWARD HENDREX (“Plaintiff”), by and through his attorneys, KIMMEL &
16
     SILVERMAN, P.C., alleges the following against DIVERSIFIED CONSULTANTS, INC.
17
     (“Defendant”):
18

19
                                             INTRODUCTION

20          1.   Plaintiff’s Complaint is based on the Fair Debt Collection Practices Act, 15 U.S.C.

21   § 1692 et seq. (“FDCPA”) and the Telephone Consumer Protection Act 47 U.S.C . § 227, et.

22   seq. (“TCPA).

23                                    JURISDICTION AND VENUE
24
            2.          Jurisdiction of this court arises pursuant to 15 U.S.C. § 1692k(d), which states
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     that such actions may be brought and heard before “any appropriate United States district court


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     without regard to the amount in controversy,” and 28 U.S.C. § 1331 grants this court original
 1
     jurisdiction of all civil actions arising under the laws of the United States.
 2

 3          3.        Defendant regularly conducts business in the State of New Jersey therefore

 4   personal jurisdiction is established.

 5          4.        Venue is proper pursuant to 28 U.S.C. § 1391(b)(2).

 6                                                 PARTIES
 7          5.        Plaintiff is a natural person residing in Brick, New Jersey 08724.
 8
            6.        Plaintiff is a “person” as that term is defined by 47 U.S.C. 153 (39).
 9
            7.        Plaintiff is a “consumer” as that term is defined by 15 U.S.C. §1692a(3).
10
            8.        Defendant is a debt collection company with headquarters located at 10550
11
     Deerwood Park Blvd, Suite 309, Jacksonville, Florida 32256.
12
            9.        Defendant is a “person” as that term is defined by 47 U.S.C. § 153(39.
13
            10.       At all relevant times, Defendant acted as a “debt collector” within the meaning
14
     of 15 U.S.C. § 1692(a)(6), and attempted to collect a “debt” as defined by 15 U.S.C.
15

16   §1692(a)(5).

17          11.       Defendant acted through its agents, employees, officers, members, directors,

18   heirs, successors, assigns, principals, trustees, sureties, subrogees, representatives and insurers.

19                                     FACTUAL ALLEGATIONS
20          12.       At all pertinent times hereto, Defendant was hired to collect a consumer debt
21
     and attempted to collect that debt from Plaintiff.
22
            13.     Defendant collects, and attempts to collect, debts incurred, or alleged to have been
23
     incurred, for personal, family, or household purposes on behalf of creditors using the U.S. Mail,
24
     telephone and/or internet.
25



                                                          2

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            14.     As Plaintiff has no business debts, the alleged debt Defendant was seeking to
 1
     collect arose out of transactions that were primarily for personal, family, or household purposes.
 2

 3          15.     Beginning in August 2015 and continuing through October 2015, Defendant

 4   continuously and repeatedly contacted Plaintiff on his cellular telephone in its attempts to collect

 5   a consumer debt.

 6          16.     Plaintiff has had this cellular telephone number for more than one year.
 7          17.     Plaintiff has only used this number as a cellular telephone number.
 8
            18.     The phone number has been assigned to a cellular telephone service for which
 9
     Plaintiff incurs a charge for incoming calls.
10
            19.     Plaintiff never provided permission to Defendant to call his cellular telephone
11
     number.
12
            20.     Defendant contacted Plaintiff, on average, once a day.
13
            21.     Defendant used an automatic telephone dialing system, automated message and/or
14
     prerecorded voice when contacting Plaintiff.
15

16          22.     Defendant’s telephone calls were not made for “emergency purposes.”

17          23.     It was annoying and harassing for Plaintiff to be called on his cellular telephone

18   with such frequency.

19          24.     Desiring to stop the repeated telephone calls, on more than one occasion, Plaintiff
20   spoke with Defendant’s collectors to advise them to stop calling him.
21
            25.     Defendant heard Plaintiff’s instructions to stop calling him.
22
            26.     Defendant, however, refused to update its records to restrict telephone calls to
23
     Plaintiff’s cellular telephone.
24
            27.     Rather, Defendant continued to call Plaintiff on his cellular telephone.
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                                                      3

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            28.      It was frustrating and annoying for Plaintiff to receive such continuous and
 1
     repeated telephone calls from Defendant on his cellular telephone and as such Plaintiff took
 2

 3   measures to block Defendant’s calls.

 4           29.     Upon information and belief, Defendant called Plaintiff on a repetitive and

 5   continuous basis with the intent of harassing Plaintiff into paying the alleged debt.

 6          30.           Finally, within five (5) days of its initial communication with Plaintiff,
 7   Defendant failed to send Plaintiff written correspondence advising him of his rights to dispute
 8
     the debt and/or request verification, as well as his right to request the name and address of the
 9
     original creditor.
10
                                     DEFENDANT VIOLATED THE
11                             FAIR DEBT COLLECTION PRACTICES ACT

12                                                  COUNT I

13          31.     Defendant’s conduct violated 15 U.S.C. §§ 1692d and 1692d(5).
14
                     a.        A debt collector violates § 1692d of the FDCPA by engaging in conduct
15
                               of the natural consequence of which is to harass, oppress, or abuse any
16
                               person in connection with the collection of a debt.
17
                     b.        A debt collector violates § 1692d(5) of the FDCPA by causing a telephone
18
                               to ring or engaging any person in telephone conversation repeatedly or
19
                               continuously with intent to annoy, abuse, or harass any person at the called
20
                               number.
21

22                   c.        Here, Defendant violated §§ 1692d and 1692d(5) of the FDCPA by

23                             repeatedly contacting Plaintiff on his cellular telephone as well as

24                             continuing to call Plaintiff after having been told to stop calling him.

25



                                                         4

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                                                  COUNT II
 1
            32.         Defendant’s conduct, as detailed in the preceding paragraph, violated 15 U.S.C.
 2

 3   § 1692f.

 4                 a.        A debt collector violates § 1692f of the FDCPA by using unfair or

 5                           unconscionable means to collect or attempt to collect any debt.

 6                 b.        Here, Defendant violated § 1692f of the FDCPA by failing to update its
 7                           records to stop calling Plaintiff.
 8

 9
                                                  COUNT III
10
            33.         Defendant’s conduct, as detailed in the preceding paragraphs, violated 15
11
     U.S.C. § 1692g(a).
12
                   a.        A debt collector violates § 1692g(a) of the FDCPA by failing, within five
13
                             days after the initial communication with a consumer in connection with
14
                             the collection of a debt, to send the consumer a written notice containing
15

16                           (1) the amount of the debt; (2) the name of the creditor to whom the debt

17                           is owed; (3) a statement that unless the consumer, within thirty days after

18                           receipt of the notice, disputes the validity of the debt, or any portion

19                           thereof, the debt will be assumed to be valid by the debt collector; (4) a
20                           statement that if the consumer notifies the debt collector in writing within
21
                             the thirty-day period that the debt, or any portion thereof, is disputed, the
22
                             debt collector will obtain verification of the debt or a copy of a judgment
23
                             against the consumer and a copy of such verification or judgment will be
24
                             mailed to the consumer by the debt collector; and (5) a statement that,
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                                                        5

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                            upon the consumer's written request within the thirty-day period, the debt
 1
                            collector will provide the consumer with the name and address of the
 2

 3                          original creditor, if different from the current creditor.

 4                  b.      Here, Defendant violated § 1692g(a) of the FDCPA by failing to send

 5                          Plaintiff written notification of his rights to dispute the debt, request

 6                          verification of the debt and/or to request information about the creditor
 7                          within five (5) days of its initial communication with him.
 8

 9
                                 DEFENDANT VIOLATED THE
                            TELEPONE CONSUMER PROTECTION ACT
10
                                                  COUNT IV
11
            34.   Defendant’s conduct, as detailed in the preceding paragraphs, violated the
12
     Telephone Consumer Protection Act.
13
            35.   Under § 227(b)(3)(A) of the TCPA, a person or entity may bring a private cause of
14
     action in an appropriate court based on a violation of the TCPA or the regulations prescribed
15

16   under the TCPA to enjoin such violation.

17          36.   Under § 227(b)(3)(B) of the TCPA, a person or entity may bring a private cause of

18   action in an appropriate court “to recover for actual monetary loss from such a violation, or to

19   receive $500 in damages for each such violation whichever is greater.”
20          37.   Despite the fact that Plaintiff never consented to Defendant placing calls to him,
21
     Defendant repeatedly placed non-emergency calls to Plaintiff’s cellular telephone.
22
            38.   Based upon the conduct of Defendant, Plaintiff avers that the enhancement of
23
     damages provided for by the TCPA allowing for Plaintiff to recover up to $1,500 per
24
     call/violation be applied to calls placed.
25



                                                       6

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             39.   Defendant’s conduct violated § 227(b)(1)(A)(iii) of the TCPA by placing repeated
 1
     calls using an automatic telephone dialing system to Plaintiff’s cellular telephone without prior
 2

 3   express consent.

 4
             WHEREFORE, Plaintiff, EDWARD HENDREX, respectfully prays for a judgment as
 5
     follows:
 6
                    a.     All actual damages suffered pursuant to 15 U.S.C. §1692k(a)(1);
 7
                    b.     Statutory damages of $1,000.00 for the violation of the FDCPA pursuant
 8

 9
                           to 15 U.S.C. §1692k(a)(2)(A);

10                  c.     All reasonable attorneys’ fees, witness fees, court costs and other litigation

11                         costs incurred by Plaintiff pursuant to 15 U.S.C. §1693k(a)(3);

12                  d.     Statutory damages of $500.00 per telephone call in violation of the TCPA

13                         pursuant to 47 U.S.C. § 227(b)(3)(B);
14
                    d.     Statutory damages of up to $1,500 for each call in violation of the TCPA,
15
                           pursuant to 47 U.S.C. §§ 227(c)(5)(B) and 227(c)(5)(C), which permits the
16
                           Court in its discretion to award such damages if it finds that Defendant
17
                           willfully or knowingly violated the TCPA; and
18
                    e.     Any other relief deemed appropriate by this Honorable Court.
19

20

21

22                                  DEMAND FOR JURY TRIAL

23           PLEASE TAKE NOTICE that Plaintiff, EDWARD HENDREX, demands a jury trial in

24   this case.

25



                                                     7

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 1

 2
                           CERTIFICATION PURSUANT TO L.CIV.R.11.2
 3
            I hereby certify pursuant to Local Civil Rule 11.2 that this matter in controversy is not
 4
     subject to any other action pending in any court, arbitration or administrative proceeding.
 5

 6
                                                          Respectfully submitted,
 7

 8
                                                      By: /s/ Amy Lynn Bennecoff Ginsburg
 9                                                       Amy Lynn Bennecoff Ginsburg, Esquire
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13
     Dated: 3-28-16
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